 8:14-cr-00156-JFB-TDT          Doc # 71      Filed: 09/30/14     Page 1 of 1 - Page ID # 130




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                   8:14CR156
                       Plaintiff,                )
                                                 )
       vs.                                       )                     ORDER
                                                 )
ROCKY VERDUGO and                                )
JOSEPH M. HUSS,                                  )
                                                 )
                       Defendants.               )
       This matter is before the court on the motion for an extension of time by defendant Rocky
Verdugo (Verdugo) (Filing No. 69). Verdugo seeks an additional thirty days in which to file pretrial
motions in accordance with the progression order. Verdugo's counsel represents that Verdugo
will file an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act. Verdugo's
counsel represents that government's counsel has no objection to the motion.                  Upon
consideration, the motion will be granted as to defendants Verdugo and Joseph M. Huss (Huss).


       IT IS ORDERED:
       Defendant Verdugo's motion for an extension of time (Filing No. 69) is granted. Verdugo
and Huss are given until on or before November 6, 2014, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., the time between September 30, 2014, and

November 6, 2014, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendants' counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 30th day of September, 2014.
                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
